                     Case 6:19-cv-01311-AA                 Document 3-1          Filed 08/19/19     Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                            District of Oregon


                     Mary Kate Gillespie                             )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 6:19-cv-1311 AA
                                                                     )
       Life Insurance Company of North America                       )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Life Insurance Company of North America
                                           c/o CT Corporation Systems
                                           780 Commercial Street SE
                                           Suite 100
                                           Salem, OR 97301



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Megan E. Glor
                                           Megan E. Glor, Attorneys at Law
                                           707 NE Knott Street, Suite 101
                                           Portland, OR 97212



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:08/19/2019
                                                                             By: s/kfinerson, Deputy Clerk
                                                                                          Signature of Clerk or Deputy Clerk
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 CivilAc tionNo. 6:19-cv-1311 AA

                                                       PROOF OF SERVICE
                     (This sectio11 should 11ot be filed with tile court u11less required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, ifany)
 was received by me on (date)

           D I personally served the summons on the individual at (place)
                                                                                on (date}                            ; or

           D I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date} -------- , and mailed a copy to the individual's last known address; or

           D I served the summons on (name ofindividual)                                                                      , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                on (date}                            ; or

           D I returned the summons unexecuted because                                                                             ; or

           D Other (specify):



           My fees are$                            for travel and$                   for services, for a total of$          0.00


           I declare under penalty of perjmy that this information is true.


 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc:
